             Case 2:12-bk-14433-RK                 Doc 2 Filed 02/08/12 Entered 02/08/12 14:39:32                                     Desc
                                                   Main Document     Page 1 of 1
                                      UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
 Name, Address, Telephone Numbers, and California State Bar Number (if applicable)         CASE NO.: 2:12-bk-14433-TD
  SILVIO NARDONI SBN 048395
  535 N. Brand Blvd., Suite 501                                                            CHAPTER: 7
  Glendale, CA 91203
  Tel: (818) 550-1800
  Fax: (818) 550-1850                                                                      ‘
                                                                                           ✔ REQUEST COURTESY
                                                                                                 NOTIFICATION OF ELECTRONIC
                                                                                                 FILING (NEF)

 In re: Arkland Investment LLC
                                                                                           ‘ REQUEST REMOVAL FROM
                                                                                                 COURTESY NOTIFICATION OF
                                                                            Debtor(s)            ELECTRONIC FILING (NEF)


                        REQUEST TO BE ADDED OR REMOVED FROM
                    COURTESY NOTIFICATION OF ELECTRONIC FILING (NEF)
To the Clerk of the U.S. Bankruptcy Court, I hereby:

‘
✔   Request Courtesy Notification of Electronic Filing. The above named wishes to receive courtesy electronic
    notice of all documents filed in the above referenced case. I understand the courtesy electronic notification shall
    be delivered via the Court’s Case Management/Electronic Filing (CM/ECF) system as a Notice of Electronic Filing
    (NEF) and that I must be a registered User of the Court’s CM/ECF system to be eligible for courtesy NEFs.

    I understand it is my responsibility to add myself and my e-mail address to the above referenced case via CM/ECF
    in order to receive a courtesy NEF.

    I further understand this request DOES NOT impose any obligation on the Court, the debtors or any other party in
    the case to deliver courtesy copies of any orders, pleadings or other documents entered on the docket by mail,
    telephone, facsimile, or any other means of electronic transmission.

    I will use docket event “Request for Courtesy Notice of Electronic Filing (NEF).”

‘    Request Removal from Courtesy Notification of Electronic Filing. By selecting this option, courtesy notification
     of court orders and all other pleadings entered on the docket in the above referenced case will no longer be sent
     via electronic means to the above named.

     I will use docket event “Request for REMOVAL from Courtesy Notice of Electronic Filing (NEF).”

    (WARNING: This form must be used to be added or removed from receiving Courtesy NEFs and may
    NOT be used in place of Substitution of Attorney form F 2090-1.4)


Dated: 2/8/12
                                                       Signature

(NOTE: This form can only be filed electronically via the Court’s CM/ECF system. Scan this form to a PDF
document, then file electronically.)

               This form is mandatory. It has been approved by the United States Bankruptcy Court for the Central District of California.
April 2010
